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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 GROUPON, INC.,                                      )
                                                     )
                       Plaintiff,                    )
                                                     ) Case No. 21-cv-06082
     v.                                              )
                                                     ) Honorable Judge Charles P. Kocoras
 SUNG SHIN,                                          )
                                                     )
                      Defendant.                     )

                 PLAINTIFF’S MOTION FOR EXPEDITED DISCOVERY

       Plaintiff Groupon, Inc. (“Groupon”), pursuant to Rule 26 of the Federal Rules of Civil

Procedure, hereby respectfully moves this Court for entry of an Order permitting Plaintiff to

engage in limited discovery on an expedited basis to supplement its recently filed Emergency

Motion for Temporary Restraining Order, and to prepare an adequate record in anticipation of its

Motion for Preliminary Injunction against Defendant, Sung Shin (“Shin”). In support of its

Motion, Groupon states:

       A.      Groupon’s Business

       1.      Groupon is an online marketplace where multi-location small and enterprise

merchants showcase their local offerings to engage with consumers and to earn consumer spend.

Merchants advertise their services on Groupon’s platform to facilitate consumer engagement and

purchasing.

       2.      Groupon, in turn, targets these small and enterprise merchants for advertising

spend. More specifically, Groupon studies merchant-by-merchant analyses of cost per click, cost

per impression, and cost per action advertising to curate advertising strategies tailored to

merchants’ particular advertising needs, obstacles and objectives.
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       3.      Groupon has invested years and substantial resources to provide merchants with

these targeted and specialized advertising strategies.

       B.      Shin’s Role at Groupon

       4.      Defendant Shin served as Groupon’s former Vice President – Global Head of

Advertising and Ancillary Revenue from March 23, 2021 through November 12, 2021. Although

Shin worked at Groupon for a relatively short time, he spearheaded the Company’s advertising

strategies, on both granular and global levels, and led a team of tens of employees.

       5.      Shin’s role at Groupon was unlike traditional advertising roles focused on the

industry’s creative components.      Instead, Shin’s role focused on analyzing the Company’s

advertising-specific and holistic performance data to mold Groupon’s day-to-day and long-term

advertising strategies. To this end, Shin studied, learned and analyzed merchant-by-merchant

analyses of advertising spend, return on advertising spend and advertising preferences.

       6.      Groupon also educated Shin on its historical advertising strategies. Throughout his

tenure at Groupon, Shin had unfettered access to a wide array of the Company’s proprietary data,

including merchant revenues, merchant balance sheets and advertising spend by market segment.

Groupon also trained Shin on Groupon’s specific advertising methodology, including cost per

click, cost per impression, and cost per action, as well as the efficacy of each method on a

merchant-by-merchant basis.

       C.      The Confidentiality, Intellectual Property, and Restrictive Covenants Agreement

       7.      To protect this information from unlawful disclosure, Groupon and Shin entered

into a valid and enforceable Confidentiality, Intellectual Property, and Restrictive Covenants

Agreement (the “Agreement”) prior to Shin commencing employment.




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       8.      The Agreement prohibits Shin from, among other things, working for a Groupon

competitor in two particular circumstances: (1) in those positions “with responsibilities similar to

any position [he] held with Groupon during the twelve (12) months preceding the termination of

[his] employment or relationship with Groupon” or (2) in those positions “in which [he] would

have responsibility for and access to confidential information similar or relevant to that which [he]

had access to during the twelve (12) months preceding the termination of [his] employment or

relationship with Groupon.” See Cmplt., Ex. A, ¶ 13(a).

       D.      Shin’s Employment at Yelp Violates the Agreement.

       9.      In direct contravention of these post-employment obligations, Shin has accepted

employment with Yelp, Inc. (“Yelp”), a direct Groupon competitor, and in a position Shin himself

likened to his role at Groupon. The role also will require Shin access, use and rely upon merchant-

by-merchant analyses (i.e., the same kind of confidential information to which he accessed and for

which he was responsible at Groupon).

       10.     At its core, Yelp, like Groupon, is a “marketplace,” providing small and enterprise

merchants with a platform to engage consumers throughout the purchase cycle and to drive

consumer spend. Similar to Groupon, Yelp provides merchants with an advertising platform to

showcase their locally driven services to consumers. Groupon and Yelp compete for the same

merchants’ advertising dollars.

       11.     Thus, in executing his duties as Yelp’s Lead Product Management for Yelp’s

Enterprise and Multi-Location - Yelp Audiences and In-store Measurement Group, Shin cannot

help but reference, use, rely upon and disclose Groupon’s advertising strategies and the metrics

and data from which those strategies are derived.




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       12.     Thus, Shin has and continues to breach the post-employment obligations set forth

in the Agreement.

       13.     By virtue of Shin’s employment at Yelp, he also threatens to misappropriate

Groupon’s trade secret information, as explained above.

       14.     Shin’s wrongful conduct, as fully set forth in Plaintiff’s Verified Complaint and

Emergency Motion for Temporary Restraining Order, has caused and continues to threaten

immediate, substantial and irreparable harm to Groupon.

       E.      Expedited Discovery is Warranted.

       15.     Plaintiff is entitled to a temporary restraining order, and eventually a preliminary

injunction, to enjoin Shin’s unlawful conduct and its resulting irreparable harm. Expedited

discovery will allow the Parties to prepare for hearing on Plaintiff’s anticipated Motion for

Preliminary Injunction. Expedited discovery also will enable Plaintiff to detail the various bases

warranting preliminary injunctive relief.

       16.     In ruling on motions for expedited discovery, courts in the Seventh Circuit evaluate

whether “good cause” exists. See, e.g., CampaignZERO, Inc. v. StayWoke, Inc., 2021 WL

1020987, at *1 (N.D. Ill. Mar. 17, 2021). Good cause may be shown in cases, such as this one,

which involve a request for preliminary injunctive relief. Inventus Power, Inc. v. Shenzhen Ace

Battery Co., Ltd., 2020 WL 3960451, at *14 (N.D. Ill. July 13, 2020). Courts also “frequently

grant motions for expedited discovery in cases involving trade secrets . . . in litigation between

competitors.” Id.

       17.     Here, Groupon’s request falls squarely within these parameters.            Further,

Groupon’s expedited discovery is limited to the issues addressed in its Emergency Motion for

Temporary Restraining Order and its forthcoming Motion for Preliminary Injunction. Groupon’s



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proposed expedited discovery requests are attached hereto as Exhibit A. Groupon also has no

objection if Shin seeks his own expedited discovery within the same parameters as Groupon’s

proposed expedited discovery requests. As a result, good cause exists. See Inventus Power, 2020

WL 3960451, at *14 (explaining that good cause exists where the discovery is “mutual, targeted

to matters that will be addressed in a preliminary injunction hearing, and not duplicative of

investigations that already have been made”); Nobel Biocare USA, Inc. v. Lynch, 1999 WL 958501,

at *4 (N.D. Ill. Sept. 15, 1999) (granting motion for expedited discovery because it would provide

a “fuller record for the court when deciding to issue a preliminary injunction”).

       18.     Groupon specifically requests that the Court enter an order (a) permitting Plaintiff

to issue eleven (11) Requests for Production and eight (8) Interrogatories; (b) permitting Plaintiff

to take up to three (3) depositions, including Shin; (c) permitting Plaintiff to serve two (2) third

party subpoenas on Yelp, requesting production of documents and deposition; (d) requiring Shin

and Yelp to respond to Plaintiff’s expedited Requests for Production and Interrogatories, as

applicable, within ten (10) days of service thereof; (d) requiring Shin to make himself available

for deposition within fifteen (15) days after entry of the Court’s Order permitting expedited

discovery; (e) setting a Hearing on the Motion for Preliminary Injunction within ten (10) days after

the close of expedited discovery and/or at the Court’s convenience; and (g) granting any other

relief this Court deems reasonable and just.

       19.     In further support of this Motion, Groupon hereby incorporates the grounds set forth

in its Verified Complaint and Emergency Motion for Temporary Restraining Order, filed with this

Court on November 12, 2021.




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       WHEREFORE, for the foregoing reasons, Groupon respectfully requests this Court grant

its Motion for Expedited Discovery, and any other relief this Court deems just and proper.

Dated: November 23, 2021                            Respectfully submitted,


                                                    /s/ Kevin M. Cloutier
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 23, 2021, a copy of the foregoing was

filed with the Court’s CM/ECF system, which will serve all counsel of record.



                                                    /s/ Kevin M. Cloutier
                                                          Kevin M. Cloutier




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